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                      UNITED STATES DISTRICT COURT
                                        Southern District of Florida
                                            Fort Lauderdale Division


UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
           v.
     RICHARD RUSSO                                        Case Number: 18-60163-CR-BLOOM
                                                          USM Number: 18687-104

                                                          Counsel For Defendant: CATHERINE KOONTZ
                                                          Counsel For The United States: CHANTEL DOAKES
                                                          Court Reporter:Yvette Hernandez

The defendant pleaded guilty to count(s) 2 OF THE INDCITMENT.


The defendant is adjudicated guilty of these offenses:

                                                                                       OFFENSE
TITLE & SECTION              NATURE OF OFFENSE                                                           COUNT
                                                                                       ENDED
                             Possession and access with intent to view material
18 USC 2252 (a) (4)(B)                                                                 01/23/2018        2
                             involving the sexual exploitation of minors

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


All remaining counts are dismissed on the motion of the government.


It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.




                                                          Date of Imposition of Sentence: 11/2/2018



                                                          ____________________________________________
                                                          Beth Bloom
                                                          United States District Judge


                                                          Date: 11/2/2018
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DEFENDANT: RICHARD RUSSO
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                                               IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 36 months as to Count 2.


The court makes the following recommendations to the Bureau of Prisons: that the defendant be
considered to participate in the 500 hour RDAP program administered by the BOP. Also, that the
Defendant be designated to a South Florida facility.


The defendant is remanded to the custody of the United States Marshal.


                                                    RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                         ___________________________________________
                                                         UNITED STATES MARSHAL


                                                         ___________________________________________
                                                         DEPUTY UNITED STATES MARSHAL
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DEFENDANT: RICHARD RUSSO
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                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years as to Count 2.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.


The defendant shall not commit another federal, state or local crime.


The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.


The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.


The defendant shall cooperate in the collection of DNA as directed by the probation officer.


If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.


The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
    1.    The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2.    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
          days of each month;
    3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4.    The defendant shall support his or her dependents and meet other family responsibilities;
    5.    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
          other acceptable reasons;
    6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
    10.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view of the probation officer;
    11.   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
    12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court; and
    13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: RICHARD RUSSO
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                                 SPECIAL CONDITIONS OF SUPERVISION
Adam Walsh Act Search Condition - The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced searches of the defendant’s person, property, house, residence, vehicles, papers,
computer(s), other electronic communication or data storage devices or media, include retrieval and copying of
all data from the computer(s) and any internal or external peripherals and effects at any time, with or without
warrant by any law enforcement or probation officer with reasonable suspicion concerning unlawful conduct or a
violation of a condition of probation or supervised release. The search may include the retrieval and copying of
all data from the computer(s) and any internal or external peripherals to ensure compliance with other supervision
conditions and/or removal of such equipment for the purpose of conducting a more thorough inspection; and to
have installed on the defendant’s computer(s), at the defendant’s expense, any hardware or software systems to
monitor the defendant’s computer use.

Association Restriction - The defendant is prohibited from associating with Russell Schroeder while on
probation/supervised release.

Computer Possession Restriction - The defendant shall not possess or use any computer; except that the
defendant may, with the prior approval of the Court, use a computer in connection with authorized employment.

Data Encryption Restriction - The defendant shall not possess or use any data encryption technique or program.

Employer Computer Restriction Disclosure - The defendant shall permit third party disclosure to any employer or
potential employer, concerning any computer-related restrictions that are imposed upon the defendant.

Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Mental Health Treatment - The defendant shall participate in an approved inpatient/outpatient mental health
treatment program. The defendant will contribute to the costs of services rendered (co-payment) based on ability
to pay or availability of third party payment.

No Contact with Minors - The defendant shall have no personal, mail, telephone, or computer contact with
children/minors under the age of 18 or with the victim.

No Contact with Minors in Employment - The defendant shall not be employed in a job requiring contact with
children under the age of 18 or with the victim.

No Involvement in Youth Organizations - The defendant shall not be involved in any children’s or youth
organization.

No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through
any corporate entity, without first obtaining permission from the United States Probation Officer.

Restricted from Possession of Sexual Materials - The defendant shall not buy, sell, exchange, possess, trade, or
produce visual depictions of minors or adults engaged in sexually explicit conduct. The defendant shall not
correspond or communicate in person, by mail, telephone, or computer, with individuals or companies offering to
buy, sell, trade, exchange, or produce visual depictions of minors or adults engaged in sexually explicit conduct.

Sex Offender Registration - The defendant shall comply with the requirements of the Sex Offender Registration
and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or
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any state sex offender registration agency in which he or she resides, works, is a student, or was convicted of a
qualifying offense.

Sex Offender Treatment - The defendant shall participate in a sex offender treatment program to include
psychological testing and polygraph examination. Participation may include inpatient/outpatient treatment, if
deemed necessary by the treatment provider. The defendant will contribute to the costs of services rendered
(co-payment) based on ability to pay or availability of third party payment.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or
alcohol abuse and abide by all supplemental conditions of treatment. Participation may include
inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-payment) based
on ability to pay or availability of third party payment.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: RICHARD RUSSO
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                          CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                   Assessment                     Fine                     Restitution
         TOTALS                     $100.00                       $0.00                   RESERVED

The determination of restitution is deferred until January 25th at 9:30 am. An Amended Judgment in a
Criminal Case (AO 245C) will be entered after such determination.


If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

NAME OF PAYEE
                                                       TOTAL LOSS*            RESTITUTION ORDERED
                                                       RESERVED               RESERVED
RESERVED

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.


**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: RICHARD RUSSO
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                             SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:


A. Lump sum payment of $100 due immediately.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.


This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:


U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716


The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney's Office are responsible for the enforcement of this order.


Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

CASE NUMBER
                                                                                         JOINT AND SEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                 TOTAL AMOUNT
                                                                                         AMOUNT
(INCLUDING DEFENDANT NUMBER)

The Government shall file a preliminary order of forfeiture within 3 days.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
